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Civil No. 8:16~cv~01257-BRO

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

111 ret JAY W. AND DEBRA JOHNSON, Debtors,
Chapter 7 Bankruptcy Court Case NO. 8:06-b1<-103 73 ES

 

JAY W. JOHNSON, et 31., Appellants
VS.
ROSENDO GONZALEZ, et 211., Appe]lees.

Adversary Proceeding Case Numbers 8:06~ap~1313 ES and
8:06~ap~131 1 ES (COnSOlidated)

 

On Appeal from the Order Of the United States Bankruptcy Court,
The Honorable Erithe A. Smith, United States Bankruptcy J 11ng

 

APPELLEES’ RESPONSE BRIEF

 

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CORPORATE })ISCLOSURE STATEMENT

Pursuant to Ruie 8012 of the Federa1 Ruies of Bankruptcy Procedure, the

undersigned counsel for Rosendo Gonza1ez, Chapter 7 Trustee, J ames Andrew

Hinds, Jr., Esq, and H[NDS & SHANKMAN, LLP certifies that Rosendo

Gonzalez and J ames Andrew Hinds, Jr. are individuals, and further certifies that

HINDS & SHANKMAN, LLP is a Ca1ifornia Limited Liability Partnership With

no parent or subsidiary, and that there is no a public corporation that owns 10% or

more of its stock.

Dated: October 6, 2016

Respectfu11y submitted,

JAMES ANDREW H[NDS, JR.
PAUL R. SHANKMAN
RACHEL M. SPOSATO
H[NDS & SHANKMAN LLP

    

Attorneys for Appellees Rosen o
Chapter 7 Trustee, james Andrew Hinds, Jr.,
Esq., and H[NDS & SHANKMAN, LLP

 

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STATEMENT REGARDING ORAL ARGUMENT

Appellees respectfully submit that oral argument Would add nothing of merit

to the issues on appeal in this matter. The decision of the trial court below is

supported by the facts and the law and thus oral argument Will not materially assist

the Court in its analysis of the disputed issues presented on appeal.

Dated: October 5, 2016

Respectfully submitted,

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INTR()DUCTION AND SUMl\/.[ARY OF THE ARGUMENTS IN
OPPOSITION TO THE APPEAL FROM THE ])ENlAL OF THE MOTION

FOR AN AWAR]) OF ATTORNEYS’ FEES AN]) COSTS

Rosendo Gonzalez, Chapter 7 Trustee for J ay and Debra Johnson, 1 ames
Andrew Hinds, Jr., Esq., and Hinds & Shanl<man, LLP (hereinafter collectively
referred to as the “Appellees”) successfully opposed the Motion for an Award of
Attorney [sic] Fees (hereinafter referred to as the “Attorney Fee Motion”) filed by
the Defendants J ay W. Johnson, Debra F. Johnson, lay Johnson, A.I.A. and
Associates, lnc., Randal A. Johnson, Robin Litster Johnson, .U&A Architects, lnc.,
and Q Financial Group, lnc. (hereinafter collectively referred to as the
“Appellants”) on several grounds First, as found by Judge Smith below, the
Trustee Was the real party-in~interest in the Adversary Proceedings, not Richard
Lapides (hereinafter “Lapides”). Second, to the extent that the Appellants
overturned the sett1ement between the parties in 2006, the Appellants waited too
long to bring a claim for attorneys’ fees under the failed Settlement Agreement.
Third, under the so-called “Arnerican Rule,” each party pays its own attorney’s
fees and costs arising out of litigation Fourth, sanctions under 11 U.S.C §105(a)
and Federal Rules of Banl{ruptcy Procedure, Rule 9011(b) (hereinafter “Rule”) are
not warranted because at no time during the prosecution of the Adversary

Proceedings did the Trial Judge make any findings that the actions of the Trustee

 

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and his counsel were egregious, baseless, or in bad faith. And fifth, the Attorney
Fee Motion cannot be upheld on appeal because the Attorney Fee Motion was

unsupported by admissible evidence and the Appellants failed to follow Rule

9011.1
STATEMENT ()F JURISDICTION

The United States Bankruptcy Court for the Central District of California
(the Honorable Erithe A. Smith, United States Banl<ruptcy Judge) had jurisdiction
over these core adversary proceedings “concerning the administration of the
estate” under 28 U.S.C. §§ 157(b)(2)(A) and 1334(a). The bankruptcy court
entered a final order denying all of the Appellants’ requests for an award of
attorneys’ fees and costs to the Appellants on June 24, 2016. [Excerpts of Record
Vol. 1 at pp. 29~43 .] The Appellants filed their Notice of Appeal on July 5, 2016.
[Appendix Vol. 2 187-188]. This Court has jurisdiction to hear this appeal from
the bankruptcy court’s final order under 28 U.S.C. § 158(a)(1).
/ / /
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1 Appellants’ claim that sanctions could be assessed by the Trial Court under Federal Rule of
Bankruptcy Procedure (hereinafter “Rule”) 9011 appears to have been abandoned by the
Appellants. As pointed by the Appellees’ Opposition papers before the Trial Court, the
Appellants failed to follow the minimal guidelines mandated by Rule 9011.

 

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STATEMENT OF THE ISSUES

1. Whether the Banl<ruptcy Court erred in application of the applicable
legal standard governing the award of postjudgment attorneys’ fees
under California and Bankruptcy law?

2. Whether the Bankruptcy Court erred in finding that the Trustee’s
claims in Gouzalez I and Gonzalez II were not, in any way, based on
one or more of the contracts between Lapides and the Appellants?

3. Whether the Banl<ruptcy Court afforded the Appellants suitable due
process in light of the insufficient showing made by the Appellants
at the Attorney Fee hearing and in the Attorney Fee Motion?

4. Whether the Appellants met the requirements of Local Rule 9013~
1(c) (3) and supplied with their initial l\/Iotion sufficient substantive
and admissible evidence for the Trial Court below to make any
finding in support of the Appellants’ Attorney Fee Motion?

5. Whether the Trial Court abused its discretion rejecting the
Appellant’s last minute request for an evidentiary hearing, or to
supplement their briefing at the hearing on the Attorney Fee
Motion?

6. Whether the Banl<ruptcy Court erred in holding that the lengthy

delay by the Appellants in bringing forth the issue of the potential

 

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attorneys’ fees allegedly incurred in objecting to the Trustee’s

enforcement of the 2005 Settlement Agreement constituted laches?

STAN])ARD OF REVIEW

This Court on appeal will not disturb a bankruptcy court’s ruling on an
award of attorneys’ fees absent an abuse of discretion or an erroneous application
of the law. Hensley v. Eckerharr, 461 U.S. 424, 437 (1983); Law Offz`ces ofDavid
A. Boone v. Derham-Burk (In re Elz`apo), 468 F.3d 592, 596 (9th Cir. 2006); Smith
v. Edward & Hale, Ltd. (In re Smith), 317 F.3d 918, 923 (9th Cir. 2002). Under
the abuse of discretion standard of review, this Court first must determine de novo
whether the trial court identified the correct legal rule to apply to the relief
requested United Stares v. Hinlcson, 585 F.3d. 1247, 1262 (9th Cir 2009) (en
banc). Then this Court must review the factual findings made in the course of
ruling on the award of compensation for clear error. See Friedman Enters. v.

B. U.M Int’l, Inc. (ln re B.U.M. Int’l, lnc.), 229 F.3d 824, 830 (9th Cir. 2000).

 

Wyler Summz`t P’Ship v. Turner Broad. Sys., 235 F.3d 1184, 1193 (9th Cir.2000).
Apache Survival Coalirz'on v. United Srares, 118 F.3d 663, 665 (9th Cir.1997).
”We review an award of attomey's fees for abuse of discretion.” SL._ Berrjy v.
Stevz`nson Chevrolez‘, 74 F.3d 980, 989 (10th Cir.1996). “We will reverse the
district court's factual findings only if we have 'a definite and firm conviction that

the lower court made a clear error of judgment or exceeded the bounds of

 

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permissible choice in the circumstances.' " Moothart v. Bell, 21 F.3d 1499, 1504
(10th Cir.l994) (quoting McEwen v. Cily ofNorman, Okla., 926 F.2d 1539, 15 53-

54 (10111 Cir.1991)).

DESPITE ITS PROCEDURAL INFIRMITIES, THE APPELLANTS’
ATTORNEY FEE MOTION WAS HEARD ON THE MERITS AND
PROPERLY ])ENIED BY THE TRIAL COURT
Having prevailed at the trial of the Trustee’s claims in Gonzalez l and
Gonzalez II, on March 11, 2016, the Appellants filed their l\/lotion for an Award of
Attorney Fees. The Attorney Fee Motion was supported only by the Declaration of
Burton V. McCullough, and a memorandum of points and authorities and reference

to “the pleadings and papers on file and upon such other matters as may be
presented to the court at the time of the hearing.” [Appendix Vol. 1 at pp. 21~22.]
The Attorney Fee Motion expressly made reference to Local Rule 9013-1 which
controls the presentation of evidence on motions filed before the Central District
Bankruptcy Court.

In response to the Attorney Fee Motion, the Appellees and l\/lr. Lapides filed
their respective timely Oppositions to Motion for an Award of Attorneys [sic] Fees
on Behalf of the Trustee and Trustee’s Counsel. [Appendix Vol. 1 at pp. 30~58

and 59 -155.] The Trustee argued several points of fact and law in opposition to

 

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the Attorney Fee Motion. First, there is no contractual basis for an award of
attorneys’ fees and costs in this matter under California or Bankruptcy law.
Second, the Trustee as a matter of well-established 9th Circuit law is immune from
prosecution by the Appellants for the proper exercise of his business judgment to
prosecute the claims in the two Adversary Actions against the Appellants. Third,
under the so-called “American Rule,” each party pays its own attorney’s fees and
costs arising out of litigation Fourth, sanctions under §105(a) and FRBP 9011(b)
are not warranted because the actions of the Trustee and his counsel during the
course of the adversary proceedings was never found to be egregious, baseless, or
in bad faith. Fifth, sanctions under FRBP 901l(b) cannot be issued because the
Appellants did not follow the proper procedure for requesting sanctions under
FRBP 9011. And sixth, the Attorney Fee Motion was unsupported by admissible
evidence filed with the Attorney Fee Motion. [Appendix Vol. l at pp. 30-58.]

The Trial Court considered the Attorney Fee Motion at a hearing held on
l\/lay 31, 2016. Prior to the hearing, the Trial Judge issued a lengthy Tentative
Ruling denying the Attorney Fee Motion. [Excerpts of Record Vol.l at pp. 29-43.]
At the l\/lay 31-hearing, ludge Smith entertained lengthy argument from l\/ir.
McCullough on behalf of the Appellants. ln fact, at one point ludge Smith left the

bench to research a legal issue regarding the application of Chambers v. Nasco,

 

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Inc. (1991) 501 U.S. 32 raised for the first time by l\/lr. McCullough during oral
argument [Appendix Vol. 2 at p. 193:16 through p. 197:6.]

At the hearing Judge Smith reprimanded Mr. l\/lcCullough for failing to
pinpoint the trial court to the exact evidence Mr. McCullough wanted the trial
court to consider in support of the Appellants’ request Rather than follow the
Local Rules, l\/lr. McCullough merely made a blanket reference to the 10-day trial
record and his lengthy Closing Brief. [Appendix Vol. 1 pp. 10:7-9 and 20:9-12.]
Thus, Judge Smith was left to “go-fish°’ for evidence which might in some way
support the Appellants’ contention of bad faith litigation conduct on the part of the
Appellees. [Appendix Vol. 2 at pp. 221 : 18-25, 222, 232:1~234:10.]

After taking the time to review not only the parties’ briefs in support and in
opposition to the Attorney Fee Motion, having taken the time to review the new
legal positions asserted by the Appellants during the hearing, and having
entertained extensive argument from l\/lr. McCullough, Judge Smith correctly
denied the Attorney Fee Motion on a number of grounds [Excerpts of Record
Vol. 2 at pp. 140-152 and 167-172.] This appeal followed the denial of the
Attorney 13 ee Motion.

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THE UNDERLYNG FACTS SUPPORT THE TRIAL COURT’S
RULING ON THE ATTORNEY FEE MOTION

The Debtors, lay and Debra Johnson filed a voluntary chapter 7 case on
April 5 , 2001. On May 8, 2001, Rosendo Gonzalez was appointed as the chapter 7
Trustee. On June 2, 2003, the Trustee filed an Adversary Complaint against
Randal Johnson and JJ&A Architects, lnc. in the matter commonly called Gorzzalez
]. On September 22, 2004, the Trustee filed an Adversary Complaint against lay
Johnson, Debra Johnson, 1 ay lohnson A.I.A & Associates, lnc., Randal Johnson,
Robin Johnson, JJ&A Architects, lnc., and Q Financial Group LLC in the matter
commonly called Gorrza[ez 17 . The Trustees’ claims in Gorzzalez l were
consolidated for trial with the Trustees’ claims in Gonzalez II.

in summary, the Trustee sought recovery from the Appellants, and each of
them, for the following: (1) to avoid fraudulent transfers pursuant to 11 U.S.C. §
544(b)(1) and California M CLde_ sections 3439.04 and 3439.07; (2) to avoid
fraudulent transfers pursuant to 11 U.S.C. § 544(b)(1) and California w §Ld_e l
sections 3439.05 and 343 9.07; (3) to avoid fraudulent transfers pursuant to 11

U.S.C. § 544(b)(1) and California Civil Code sections 3439.04(a)(2)(A) and

 

 

3439.07; (4) for relief under 11 U.S.C. § 544(1))(1) and California Civil Code
sections 343 9.04(a)(2)(B) and 343 9.07; (5) to recover property or damages on

account of avoided transfers pursuant to ll U.S.C. § 550(a)(l); (6) to recover

 

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property or damages on account of avoided transfers pursuant to 11 U.S.C. §
550(a)(2) and; ('7) to establish a Constructive Trust against the assets of the
Defendants, and each of them; (8) for lnjunctive Relief against the Defendants, and
each of them; (9) for Revocation of the Debtors’ Discharge pursuant to 11 U.S.C. §
727 (d)(2) and (e)(2)(13); (10) for Turnover and Accounting pursuant to 11 U.S.C. §
542(a) and (e); and (11) for Conversion against the Defendants, and each of them.
The only Plaintiff in Gonzalez] and Gouzalez II was l_\/lr. Gonzalez, the Trustee.
[Appendix Vol. 2 at p.185.]

The adversary proceedings were hotly contested from the onset. In
anticipation of a trial before the Trial Court, the Trustee served and filed a number
of Motions in Limine and other pre-trial motions based on the utter lack of
cooperation from the Appellants during discovery in the cases. The majority of the
Trustee’s Motions were granted by the Trial Court, thus strictly limiting what trial
exhibits and trial witnesses the Appellants could use in the matters

On February 22, 2011, Randal Johnson filed his Motion for Summary
Judgment, or In the Alternative, Motion for Sumrnary Adjudication in Gonzalez I.
On April 29, 2011, the Court issued its Order Denying ln Part, And, Granting In
Part, Motion For Summary Judgment Or, In the Alternative Surnmary
Adjudication, Filed By Defendant Randal A. Johnson And Ruling on Motions to

Strike Portions of The Declarations Filed ln Support Thereof. The Trial Court

 

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granted the Motion for Surnmary Judgment only as to the third claim in the
Complaint in Gonzalez I. The Trial Court found that all other legal and factual
issues were legitimately triable. At no time in analyzing the parties’ Motions for
Summarv Judgment did Judge Smith conclude that the Motions or the Responses
were tendered in bad faith or for improper purpose

Cross-l\/lotions for Summary ludgment were filed by the parties and argued
on May 31, 2011 and denied by the Trial Court on September 12, 2012, January
23, 2013, and March 6, 2013. The Trial Court issued its Orders on the Cross-
Motions for Summary Judgment and Evidentiary Obj ections filed in connection
therewith, and its Findings of Facts and Conclusions of Law. As part of the rulings
on the Motions for Sumrnary Judgment, at no point did the Trial Judge make a
finding of the bad faith on the part of the Trustee and his counsel. [Excerpts of
Record Vol. 2 at p. 155 :l 1-16.] ln conjunction with the rulings on the Cross-
Motions for Sumrnary Judgment, the Trial Court ruled that the Trustee’s expert
Reports drafted by l\/lr. Lapides were admissible in support of the Trustee’s claims
in Gorzzalez l and Gonzalez 11 . [Appendix Vol. 2 at pp. 206:4-25, 207-208.]

The trial in Gonzalez _/' and Gr)nzalez ll was held on February 24-28, April
22-25, and October 20-24, 2014. in support of the Trustee’s claims, the Trustee
filed with the Court Trial Declarations for Messrs. Gonzalez and Lapides, copies of

the Depositions taken of the Appellants and various third-parties, and two Expert

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Reports from l\/lr. Lapides. [Supp. Excerpts of Record Voi. 3 at pp. 241-460.] At
the trial, Messrs. Gonzalez, Lapides, and J ay Johnson each testified Over more
than five-days, l\/lr. Lapides was cross-examined by the Appellants. The matter
was extensively briefed by the parties thereafter and after an extensive review of
the trial transcripts, the Trial Court ruled on February 24, 2016, that the Trustee
had failed to meet his burden of proof as to the claims asserted as part of Gonza[ez
l and Gonzalez _U. No appeal was taken from entry of the final judgment in
Gonzalez I and Gonzalez ]I and these matters are at an end. ln fact, at no time
during the over 15-year history of the Johnsons° chapter 7 case and related
litigation, has Judge Smith ever cited the Trustee, or his counsel for acting in bad

faith toward the Appellants.

 

THE TRIAL COURT CORRECTLY F()UN]) THAT THERE WAS NO
BASIS IN FACT OR LAW TO SUPPORT AN AWARD OF ATTORNEYS’
FEES AND COSTS IN THE TRUSTEE’S PROSECUTION OF THE

ADVERSARY PROCEEDINGS

Despite the lengthy arguments made as part of the Appellants’ Opening
Brief (hereinaf`ter “AOB”), the Trial Court below got it right: the only parties to the
Adversary Proceedings filed by the Trustee were the Trustee and the Appellants.

The position of Mr. Lapides was solely that of a percipient witness, an expert

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witness, and one of several unsecured creditors of the lohnson chapter 7 Estate.
So, while the AOB spends pages focused on an irrelevant review of the various
pre-petition contracts between l\/,[r. Lapides and the Johnsons, none of these
contracts were held to be relevant, or material to the Attorney Fee Motion.
As stated by Judge Smith:
“l’rn going to focus on the Trustee, because the Trustee was the named
plaintiff here, and 1 think really the Trustee is the only relevant party. l
know there was a reference to Mr. Lapides, and there’s reference to
agreements that he entered into. Honestly, l think that’s completely
irrelevant, because, this adversary proceeding, we’re looking at who were
the parties, and the relevant party here was the Chapter 7 Trustee.”
[Appendix Vol. 2 at pp. 205-206] Hence, the Trial Court correctly
concluded that the various pre-petition contracts between Mr. Lapides and
the Appellants were irrelevant to the issue of attorneys‘ fees under California

law.

A. The Application Of The Arnerican Rule To The Facts Of This Case ls
Dispositive.

Under the so-called “American Rule,” each party pays its own attorney’s
fees and costs arising out of litigation See Alyeska Pipelr`ne Serv. Co. v.

Wildemess Soc ’y, 421 U.S. 240, 247 (1975). An exception exists, however, when

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specific authority granted by statute or contract ~ a so-called “fee-shifting”
provision - states otherwise. Id. at 263; Key Trom'c Corp. v. United Srares, 511
U.S. 809, 819 (1994). After a thorough review of the facts, the Trial Judge
correctly found that the Appellants can only do so if allowed by another statute or
by another contract with the Trustee. As shown below, there is no basis in fact or
law to support the Appellants’ claim for attorneys’ fees costs in these matters

Attorney’s fees and costs may be awarded and declared non-dischargeable
under the 1998 Supreme Court case of Cohen v. De La Cruz, 523 U.S. 213, 223
(1998), which has two prongs: (a) an underlying contract, or non-bankruptcy law
must provide a right to recover attorneys’ fees and costs, and, (b) the issues
litigated in the dischargeability action must fall within the scope of the contractual
or statutory attorneys’ fees provision See Fry v. Dirzcm (In re Dinan), 448 B.R.
775, 785 (9th Cir. BAP 2011). The Attorney Fee Motion failed on both prongs of
this test.

By her ruling, Judge Smith embraced the controlling Ninth Circuit precedent
on the issue of allowing attorneys’ fees under disputed contracts under California
Civz`l Code section 1717. The Ninth Circuit's reasoning for refusing to award such
fees is even broader: "where the litigated issues involve not basic contract
enforcement questions, but issues peculiar to federal bankruptcy law, attorneys‘

fees will not be awarded absent bad faith or harassment by the losing party."

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Fobian v. Western Farm Credir Bauk (In re Fol')z'an), 951 F.2d 1149, 1153 (9th Cir.
1991), cert denied, 505 U.S. 1221 (1992). Since the Trustee was not suing to
enforce or seek relief under any contract between l\/lr. Lapides and the Johnsons,
no attorneys’ fees could be awarded the Appellants as a matter of law. [Appendix
Vol. 2 at pp.205-206.]
B. The Trustee’s Clairns In Gonzalez l and Gonzalez ll Were ln No Wav
Addressed To The Enforcement Of The Lapides/Johnson Settlement
Agreement( s1 Nor Their Note(s) And, Thus, There Was No Basis ln Law

For An Award of Attorneys’ Fees Under California Civil Code 1717.

The Appellants first contend that they have a right to attorneys’ fees and
costs under the attorneys’ fees provisions in four agreements between the
Appellants and l\/lr. Lapides. The primary basis for the award of attorneys’ fees on
this appeal is the concept of fee-shifting under California Civz`l Code section 1717.
Under section 1717, a prevailing party may be awarded its reasonable attomey’s
fees and costs pursuant to a contract, which allows for such award.

A review the claims asserted by the Trustee as part of Gonzalez l and
Gonzalez ll shows that none of the Trustee’s claims in the Adversary Proceedings
were brought under any of these documents, nor is Mr. Lapides, a party to each of
the documents, a party-plaintiff in the Trustee’s Adversary Proceedings. Thus, it is

clear that an examination of Appellants’ theories of recovery shows that the

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Appellants did not prevail on claims for relief “on the contract” for purposes of
section 1717. See Exxess Electronixx v. Heger Really Corp. (199 8) 64 Cal.App.4th
698, 708; Sanrisas v. Goodin, (1998) 17 Cal.4th 599, 615. Thus, this appeal should
be denied on this basis.

Judge Smith correctly concluded as part of the hearing on Attorney Fee
l\/iotion that: (1) l\/lr. Lapides was not a “plaintiff” in Gonzalez 1 or Gonzalez II, and
that only the Trustee was the real party in interest in these matters; (2) the Trustee
did not seek to enforce the provisions of any of the Lapides/Johnson agreements
and/ or documents; and (3) the Trustee’s claims in Gonzalez I and Gonzalez ll
sought to avoid fraudulent transfers and to revoke the Debtors’ discharge Thus,
reference to the contracts pre-petition between Mr. Lapides and the Johnsons could
not, as a matter of law, have any bearing on fee shifting under California Civil
Code section 1717. So, contrary to the arguments of the Appellants, Gonzalez and
Lapides are not “joined at the hip.” [Appendix Vol. 2 pp. 205 ~206.]

The Supreme Court and the Ninth Circuit have both held, however, that
bankruptcy trustees do not have standing to prosecute actions against third-parties
on behalf of creditors as opposed to on behalf of a debtor. See, e.g. , Caplz`n v.
Marine Midland Grace Trusr Company OfNew York, 406 U.S. 416, 434 (1972)
(“[P]etitioner [the bankruptcy trustee] does not have standing to sue an indenture

trustee [non-debtor third party] on behalf of debenture holders [creditors of the

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estate].”); Smith v. Arrhur Andersen LLP, 421 F.3d 989, 1002 (“‘[i]t is well settled
that a bankruptcy trustee has no standing generally to sue third parties on behalf of
the estate’s creditors, but may only assert claims held by the [debtor himself].”’);
Willr`ams v. California lsr Bank, 859 F.2d 664, 667 (9th Cir. 1988), quoting, fn re.‘
Ozark Equz`pmenr Co.) Inc., 816 F. 2d 1222, 1228 (8th Cir. 1987) (“‘Congress’
message is clear_no trustee, whether a reorganization trustee as in Caplin or a
liquidation trustee[,] has power under . . . the Code to assert general causes of
action, such as [an] alter ego claim, on behalf of the bankrupt estate’s creditors.”’).
lnstead, “[a] trustee's only authority to assert creditor's state-law causes of action
[against third parties] related to fraudulent conveyances is found in section 544(b)
of the Bankruptcy Code.” Wyle v. Hr)ward, Weil, Labouisse, Friedrichs Inc. (In re
Hamilron Ta]€‘ & Co.), 176 B.R. 895, 902 (Bankr. N.D. Cal. 1995).

C. The Trustee s Not A Successor-ln-Interest To Mr. Lapides.

ln response to Judge Smith’s well-reasoned analysis on the issue, the
Appellants now come forward with an argument which was not raised and briefed
below: viz. that the Trustee prosecuted the Gonzalez 1 and Gonzalez 11 matters as
the successor-in-interest to Mr. Lapides as the only creditor in the Johnson
Bankruptcy Estate. [AOB pp. 17-18.] The Appellants’ argument fails not just

because it was never raised below, but because the record in the chapter 7 case

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shows that the Johnsons admitted to having several unsecured creditors of at least
$1,690,999.00.

At the trial of the Adversary Proceedings, the Trustee admitted into evidence
the Debtors’ sworn Schedule F, as amended, which identified 10 unsecured
creditors holding claims of more than 81,690,999.00. [Supp Excerpts Vol. 3 at pp.
499-500.] Second, at trial, Debtor J ay Johnson admitted that the Debtors had at
least 10 unsecured creditors holding claims of more than $l,690,999.00. [Supp
Excerpts Vol. 3 at pp. 469-470.] And third, at trial, the Trustee testified that he
relied upon the Debtors’ sworn Schedules, which identified unsecured creditors
holding claims against the Estate. [Supp Excerpts Vol. 3 at pp. 748-483.] Thus,
for the Appellants to argue that “[t]here was not evidence of another creditor
holding an unsecured claim allowable under 11 USC § 502 that could avoid the
transfer of an interest of the debtors in property under the UFTA,” is just an
outright sanctionable lie. [AOB p. 18.]

D. The Trial Court Correctly Applied The Doctrine Of Laches To The Facts

Of This Case Under The 2005-Settlement Agreement.

lt is Hornbook law that the law requires people to act promptly to enforce
their rights. One of the questions presented by this appeal is whether Judge Smith

erred in sua sponte applying laches on the facts of this case at the hearing on the

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Attorney Fee Motion. [Appendix Vol. 2 at pp.230-231.] The Appellees contend
that under the facts of this case, the law favors Judge Smith’s ruling.

Laches is primarily concerned with prejudice Here the Appellants contend
that they have rights to seek their attorneys’ fees from their efforts to undo the
settlement brokered by Judge Mitch Goldberg (ret.) in 2005. [AOB pp. 27-29.]
Having agreed on the record before Judge Goldberg to the terms of a settlement
with the Trustee, having had the Trustee draft an extensive Settlement Agreement,
having vested in Judge Goldberg the power to finalize the terms of the settlement,
and after Judge Smith herself approved the terms of the settlement, in 2006, the
Appellants moved for reconsideration of the approval order which Judge Smith
granted in September of 2007. The Appellants then sat on their rights, if any, from
2007 through the trial on the merits to then assert a right to attorneys’ fees for
undoing the confirmed settlement in 2016.

As a matter of law, a fee motion must be filed and served within the time for
filing a notice of appeal See, Rule 7054 and FRCP 54 (d)(2)(b)(i). Thus, the
applicable statute has long since run and no relief could be granted to the
Appellants at this late date. The Appellant’s Attorney Fee Motion was late and the
Appellants failed to explain the lengthy delay in bring this issue to the attention of
the Trial Court. Judge Smith correctly ruled that the unexcused delay on the part

of the Appellants amounted to laches.

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The Attorney Fee Motion would under California Civr'l Code section 1717
has to been supported by “sufficient evidence” as to the nature and value of the
services Marrino v. Derzevz` (1986) 182 Cal.App.3d 553, 559. A review of the
record presented to Judge Smith below shows that the Appellants made no effort to
meet the Marrino standard The Attorney Fee Motion was supported only by a
two-page declaration of l\/lr. McCullough and copies of his bills to his clients.
[Appendix Vol. 1 at pp. 21-22.] There was no analysis supported to the Trial
Court below from which the Trial Court could assess the value, if any, supplied by
any of Mr. l\/lcCullough’s efforts as to any particular matter, including the 2005
Settlement Agreernent. As a matter of proof, the Attorney Fee Motion failed under
controlling law.

Given the delay of nine-years the Trial Court correctly held that the elements
of laches were met. There is thus nothing inherently contradictory about saying
that an action that may be brought under a statute but is nonetheless subject to an
equitable limitation based on prejudicial delay. See Couveau v. Am. Airlines, 218
F.3d 1078, 1083 (9th Cir. 2000) (“To establish laches a defendant must prove both
an unreasonable delay by the plaintiff and prejudice to itself.”); Apache Survr'val
Coalirion v. United Srates, 118 F.3d 663, 665 (9th Cir. 1997) (“To establish the
defense of laches, a party must show prejudice caused by the opposing party's lack

of diligence in pursuing its claim.”). This fact is implicitly recognized in the

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doctrine that a claim may be barred by laches even if the statute of limitations for
the claim has not expired See, Jac/cson v. Axron, 25 F.3d 884, 887 (9th Cir. 1994)
(noting “[s]tatutes of limitations bar claims only upon the passage of time; laches
bars claims because prejudice would otherwise result to the defendant”); see also
Wells v. United Srares Steel & Caruegie Pension Fund, ]nc., 950 F.2d 1244, 1250
(6th Cir. 1991) (noting laches may ripen within a time that is short of the applicable
period of limitations); Maksym v. Loesch, 937 F.2d 1237, 1248 (7th Cir.l991)
(noting that, because laches focuses on harm caused by delay, “the fact that la
plaintiff] sued [a defendant] within the statutory period does not defeat the defense
oflaches”). See Brown v. Conr’l Can Co., 765 F.2d 810, 814 (9th Cir.1985)
(“Laches is an equitable doctrine. its application depends upon the facts of the
particular case.”).

E. The Trial Court’s Decision Not To Award Attorneys’ Fees To The

Appellants Was Well Within The Trial Court’s Discretion Under the
M.

While an argument could be made under California law that the Appellants
had the right to seek attorneys’ fees for their attack on the 2005 Settlement
Agreement, the award of fees is, of course, discretionary See PLCM Group, Inc.
v. Drexler (2000) 22 Ca1.4th 1084, 1095, 1097. California courts are in agreement

that “[t]he determination of the recoverable fee was a question of fact within the

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discretion of the trial court.” Scort v. Travelodge Corpomtion, 265 Cal. App. 2d
881, 887 (1968). The trial court’s determination as to attomey’s fees will remain
absent a clear abuse of discretion See, Lerner v. Ward, 13 Cal. App. 4th 155 , 158
(1993), quoting Bussey v. A]jleck, 225 Cal. App. 3d 1162, 1165 (1990) (“‘An
award of attorney fees is a matter within the sound discretion of the trial court and
absent a manifest abuse of discretion the determination of the trial court will not be
disturbed.”’)

13 . The Attorney Fee Motion Was Devoid Of Anv Proof Of Bad Faith On

The Part Of The Trustee And His Counsel.

The Appellants argue that this Court has the inherent power to sanction and
award attorneys’ fees against a party for “bad faith.” [AOB p. 29] To exercise its
inherent authority, a court "must make an express finding that the sanctioned
party's behavior constituted or was tantamount to bad faith." Hdeger v. Goodyear
Tr`re & Rubber Co., 813 F.3d 1233, 1244 (9th Cir. 2016) (internal quotations
omitted) (quoting Leon v. IDXSys. Corp., 464 13 .3d 951, 961 (9th Cir. 2006)). Bad
faith for the purposes of imposing sanctions under a court's inherent authority may
be found where a party delays or disrupts litigation, destroys evidence, commits a
fraud on the court, or engages in other actions that defile " the very temple of
justice." Haeger v. Goodyear Tire & Rubber Co., 813 F.3d at 1244 (internal

quotations and alterations omitted) (quoting Chambers v. NASCO, [nc., 501 U.S.

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32, 46 (1991)). Recklessness coupled with 1'something more_such as an improper
purpose" may also be considered bad faith for the purpose of issuing sanctions
pursuant to a court‘s inherent power. Fink v. Gornez, 239 F.3d 989, 993; see also
B.K.B. v. Maui Polz`ce Dep’r, 276 F.3d 1091, 1108 (9th Cir. 2002) (holding
counsel's reckless and knowing conduct tantamount to bad faith).

A review of the Attorney Fee Motion shows that there is no factual or
evidentiary support for an award in this matter. At the hearing on the Attorney Fee
Motion, Judge Smith, who had lived with the adversary proceedings for
approximately 10-years, refused to make a finding of “bad faith” on the part of the

Trustee or the Trustee’s counsel and expert witness As stated by Judge Smith:

“So, here, when I’m looking at this ~ and 1 read the
motion, and 1 read the opposition that was filed 1 read the
reply. 1 actually went back and looked at portions of my 161
pages of trial notes, and 1 looked at the docket. 1t goes quite a
ways. lt probably doesn’t even go back to the very beginning,
because this case transferred over from Los Angeles.

,1 “1 just wasn’t persuaded by anything in the moving paper
or the reply that there was any reason for me to make a finding
of bad faith, because 1 have to do it not on “Well, this is a really
long case, and the Trustee lost, and, you know, the evidence
didn’t hold up. The report didn’t hold up, equals bad faith.
That’s a huge leap. Okay?”

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[Appendix Vol. 2 at p. 208:12-25.] Judge Smith continued on the record
concluding as follows:

“So 1 assumed for the purposes of this decision that l had
authority, that 1 have inherent authority to engage in fee-shifting when
there has been evidence of bad faith. Ultimately, 1 then turned to the
evidence, and 1 just could not make that finding, the findings that l’d
need to make in order to grant the relief that’s requested here, again,
on the basis of bad faith litigation tactics.”

[Appendix Vol. 2 at p. 210:8-14.]

The Appellants’ reliance on Chambers v. NASCO, Inc., 501 U.S. 32 (1991)
is unavailing for a number of reasons First, as noted by Judge Smith at the
hearing, the Chambers argument was not included and argued as part of the
Appellants’ moving papers Judge Smith so far as to take a lengthy recess in the
proceedings to go into chambers and try to access the briefs in the Charnbers case
to access the new arguments made by Mr. McCullough at the hearing [Appendix

Vol. 2 at pp. 202-204.] Ultimately, Judge Smith concluded as follows:

“What you are arguing to me today are arguments that were not made,
but if they were intended for this Court to rely on, those arguments
should have been in the motion. Okay? The local rules are very clear,
and, again, when you’re talking about following procedures,

Chambers, 1 don’t know what procedures they followed”

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[Appendix Vol. 2 at p. 204:8-13.] Judge Smith correctly concluded that the
record presented by the Appellants was insufficient to meet the standard
articulated by the Supreme Court for findings of bad faith. [Appendix Vol. 2
at pp. 208-209.]

G. The Attorney Fee Motion Failed To Follow The Local Rule ln Providing

Judge Smith With Evidence ln Support Of The Relief Sought.

Central District Bankruptcy Local Rule 9013-1(0) (3), entitled “Motion”
required that every motion file be supported by evidence. The Rules reads as
follows:

There must be served and filed with the motion and as a part thereof:

(A) Daly authenticated copies of all photographs and documentary

evidence that the moving party intends to submit in support ofthe motion in

addition to the declarations required or permitted by FRBP 9006(d); and

(B) A written statement of all reasons in support thereof, together with a

memorandum of the points and authorities upon which the moving party will

rely. (Emphasis added)
California Central District Bankruptcy, Local Rule 9013 - l (c) (3).
Judge Smith found that the Attorney Fee Motion violated the Local Rule
and lacked any evidence to show bad faith on the part of the Trustee, or his

counsel. According to Judge Smith: “And so a party who is filing a motion in this

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court has to be able to follow the local rules that requires that there be evidence,
even when you’re talking about voluminous pleadings, that were not done in this
case.” [Appendix Vol. 2 at pp. 204:21-25.] Thus, as a matter of law, the
Attorney Fee Motion was properly denied

An attorney has a duty to conduct a reasonable factual investigation, as well
as to perform adequate legal research that confirms that his position is warranted
by existing law (or by a good faith argument for a modification or extension of
existing law). Christtan v. Mattel, Inc. , 286 F.3d 1118, 1127 (9th Cir. 2002).
Judge Smith properly measured the conduct of the Trustee and the Trustee’s
counsel “objectively against a reasonableness standard, which consists of a
competent attorney admitted to practice before the involved court.” fn re
Grantharn Bros. , 922 F.2d 143 8, 1441 (9th Cir. 1991). As part of the oral ruling in
this matter on February 24, 2016, the r1`rial Court did not set forth any findings of
fact pointing to any conduct on the part of the Trustee and his counsel which might
have violated Rule 9011, 28 U.S.C. § 1927, nor did the Trial Court make a finding
of any bad faith. Hence, this appeal lacks merit
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THE TRUSTEE AND HIS COUNSEL IN THIS CASE ARE IMMUNE
FROM SANCTIONS OR ATTORNEYS’ FEES BECAUSE THE
TRUSTEE’S CONDUCT, AND THE CON])UCT OF HIS COUNSEL, WAS
AT ALL TIMES WITHIN THE SCOPE OF THE TRUSTEE’S STATUORY
DUTIES UNDER THE CODE

While the Trial Judge was not required to address this issue, there is almost a
universal agreement that bankruptcy trustees are entitled to judicial immunity from
personal liability for acts taken within their authority as court officers Barl')ee v.
Price Waterlzoase, LLP (ln re Solar Fin. Servs.), 255 B.R. 801, 803 (Bankr. S.D.
Fla. 2000); TTTHope, lnc. v. Hill (In re Powell), 2008 U.S. Dist. LEXlS 67719,
*34-35 (S.D. Tex. Sept. 2, 2008). When acting pursuant to an order of court, a
bankruptcy trustee is generally afforded absolute immunity See e.g., Boullton v.
McClanahan, 639 F.2d 213, 214 (5th Cir. 1981); Lawrence v. Goldberg, 2008 U.S.
Dist. LEXIS 124906, *31-32 (S.D. Fla. Feb. 12, 2008), When not acting pursuant
to an order of court, a bankruptcy trustee is generally afforded qualified immunity.
See, e.g., TTTHope, lnc. v. Hz`ll (ln re Powell), 2008 U.S. Dist. LEXIS 67719, *35;
Solar Fin. Serv., Inc., 255 B.R. 801, 803 (Bankr. S.D. Fla. 2000).

Collz`er also provides the first reference researchers will find to personal
liability of trustees as follows: "The trustee appears in his or her legal capacity and

is entitled to Derived Judicial lmmunity." See, 8 Collter on Banlcruptcy § 6009.03.

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(Alan N. Resnr`clc & Henry l Soznrner eds., 16th ed. 2011). As fiduciaries for all
interested parties, bankruptcy trustees must often make difficult decisions which
unavoidably disturb or dissatisfy one party or another. Thus, in this matter as a
matter of law the Trustees is immune from the claims of disaffected parties

The Trial Judge below affirmed the obligation of the Trustee to “investigate
the financial affairs of the debtor [. . .] collect and reduce to money the property of
the estate . . . , and close such estate as expeditiously as is compatible with the best
interests of parties in interest,” 11 U.S.C. § 704(a)(1). [Appendix Vol. 2. pp. 215-
216.] lncluded within a trustee’s statutory obligations are the duty to examine the
debtor’s books and records (see fn re Island Arnusernent, Inc., 74 B.R. 18, 20
(Bankr. D.P.R. 1987)), and to investigate and litigate potential lawsuits that might
be brought on behalf of the debtor (see Mele v. Ftrst Colony Lz`fe Ins. Co., 127 B.R.
82, 86 (D.D.C. 1991)). Failure to perform these duties expeditiously subjects the
trustee to removal or liability for damages See, Hall v. Perry (In re Cochz'se
College Park, Inc.), 703 F.2d 1339, 1357 (9th Cir.1983); Ernst & Young v.
Matsnrnoto (ln re Unitedlns. Mgmt., lnc.), 14 F. 3d 1380, 1386 (9th Cir. 1994).
The Attomey Fee Motion utterly fails to provide a factual basis for an award of
fees in this case based on the record presented to the Trial Court.
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THE APPELLANTS’ RELIANCE ON 11 U.S.C. § 105 IS MISPLACEI) AND
CANNOT BE THE FOUNI)ATION FOR AN AWARD OF ATTORNEYS’
FEES IN THIS MATTER

The Appellants strongly inferred that the Trial Judge and this Court have the
power to sanction the Appellees under 11 U.S.C. § 105 . [AOB pp. 3.] The clear
weight of authority in the Ninth Circuit and beyond shows the inherent absurdity of
this line of thought

1t is now well understood that the bankruptcy court (nor this Court) may not
use its ‘inherent’ powers under 11 U.S.C. § 105(a) to impose extraordinary
sanctions or attorneys’ fees in violation of the so-called American Rule on fee
shifting The authorities cited by the Appellants all predate the recent United
States Supreme Court decision of Law v. Siegel, 134 S.Ct. 1188, 188 L.Ed2d 146,
82 USLW 4140 (l\/larch 4, 2014), which held in part that federal law provides no
authority for bankruptcy courts to deny an exemption on a ground not specified in
the Bankruptcy Code. ln so holding, the Court specifically stated that “[C]ourts'
inherent sanctioning powers are likewise subordinate to valid statutory directive
and prohibitions “. . . ‘whatever equitable powers remain in the bankruptcy courts
must and can only be exercised within the confines of’ the Bankruptcy Code.”’
Law v. Siegel, 134 S.Ct. at 1194, quoting in part, Northwest Banlt Worthington v.

Alzlers, 485 U.S. 197, 206 (1988).

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Similarly, Ninth Circuit authorities have stated that in the exercise of its
§ 105(a) authority, a bankruptcy court has broad discretion to shape equitable
remedies which further Congressional intent Pacr'jic Shores Dev., LLC v. At
Home Corp. (In re AtHome Corp.), 392 F.3d 1064, 1070 (9th Cir. 2004) (“[A]
bankruptcy court must locate its equitable authority in the Bankruptcy Code.”).
“[S]tatutory silence alone does not invest a bankruptcy court with equitable
powers Those powers are limited and do not amount to a “roving commission to
do equity.’ Id., quoting in part, Saxman v. Educ. Credit Mgmt. Corp. (]n re
Sa)cman), 325 F. 3d 1168, 1175 (9th Cir. 2003). The reference to a ‘roving
commission to do equity’ is derived from ln re Yadidi, 274 B.R. 843, 848 (9th Cir.
B.A.P. 2002) (“§ 105 is not a roving commission to do equity or to do anything
inconsistent with the Bankruptcy Code”). The Attorney Fee Motion seeks to
expand the scope and power of § 105 well beyond what Congress intended and

thus the Attorney Fee l\/lotion must fail.

CONCLUSION
Based on the foregoing, the Appellees respectfully submit that the Trial
Court’s decision is fully supported by the record below and controlling case law.
The Attorney Fee Motion was devoid of any proof or facts to support an award of

sanctions or attorneys’ fees under California Ctvz'l Code section 1717. Only the

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Trustee was a party plaintiff in the adversary proceedings At no time did the Trial

Court cite the Trustee or his counsel for any act of bad faith and in fact the record

supports the fact that the Trustee actively and aggressively pursued those rights

granted to the Trustee under the Code. The final ruling of Judge Smith must be

upheld by this Court.

Dated: October 6, 2016

Respectfully submitted,

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By %/V\/u/i\l\/\lwl

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CERTIFICATE OF COMPLIANCE
This brief complies with the type-volume limitation of lied R. App. P.
32(a)(7)(B) because this brief contains 6,962 words, excluding the parts of the
brief exempted by F ed R. App. P. 32(a)(&)(B)(iii), as counted by WORD 2016.
This brief complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this
brief has been prepared in a proportionally spaced typeface using WORD 2016 in
14-point font size and Tirnes New Roman type style.
Dated: October 6, 2016
Respectfully submitted,
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Attorneys for Appellees Rosendo \ a - .
1 ames Andrew Hinds, Jr.

    

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PROOF OF SERVICE

1 am employed in the County of Los Angeles, State of California. 1 am over
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On October 6, 2016, 1 served the following document described as
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